            Case 2:21-cv-03576-WB Document 1 Filed 08/11/21 Page 1 of 20




                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 FIDELITY AND DEPOSIT COMPANY
 OF MARYLAND,
 1299 Zurich Way
 Schaumburg, IL 60196,

         Plaintiff,

         v.                                         Case No: 2:21-CV-3576

 MAIN STREET PHASE II, L.P.
 120 W. Germantown Pike
 Plymouth Meeting, PA 19462

 and

 MAIN STREET PHASE III, L.P.,
 120 W. Germantown Pike
 Plymouth Meeting, PA 19462

         Defendants.


                                           COMPLAINT

       Plaintiff, Fidelity and Deposit Company of Maryland, by and through its undersigned

counsel, files this Complaint against Defendants Main Street Phase II, L.P. and Main Street Phase

III, L.P., and in support thereof alleges as follows:

                                          THE PARTIES

       1.       Plaintiff, Fidelity and Deposit Company of Maryland (“the Surety”), is a

corporation organized and existing under the law of the state of Illinois, with its principal place of

business in Schaumburg, Illinois. The Surety is registered to do business in the Commonwealth of

Pennsylvania.
             Case 2:21-cv-03576-WB Document 1 Filed 08/11/21 Page 2 of 20




        2.      Defendant Main Street Phase II, L.P. is a limited partnership organized and existing

under the law of the Commonwealth of Pennsylvania, with its principal place of business located

at 120 W. Germantown Pike, Plymouth Meeting, PA 19462.

        3.      Defendant Main Street Phase III, L.P. is a limited partnership organized and

existing under the law of the Commonwealth of Pennsylvania, with its principal place of business

located at 120 W. Germantown Pike, Plymouth Meeting, PA 19462. Defendants Main Street

Phase II, L.P. and Main Street Phase III, L.P. shall be referenced herein as “the Defendants” or

“the Owner.”

                                      JURISDICTION AND VENUE

        4.      Upon information and belief, none of the partners that comprise Main Street Phase

II, L.P. are citizens of Illinois.

        5.      Upon information and belief, none of the partners that comprise Main Street Phase

III, L.P. are citizens of Illinois.

        6.      Pursuant to 28 U.S.C. § 1332, this Court has subject matter jurisdiction over the

claims asserted in this action because the amount in controversy exceeds $75,000.00, exclusive of

interest and costs, and, upon information and belief, there is complete diversity of citizenship

between the parties.

        7.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a substantial

part of the events or omissions giving rise to the claims occurred in this judicial district, a

substantial amount of the property that is the subject of this action is located in this judicial district,

and, upon information and belief, the Defendants reside in this judicial district and are residents of

the Commonwealth of Pennsylvania.




                                                    2
             Case 2:21-cv-03576-WB Document 1 Filed 08/11/21 Page 3 of 20




                                        BACKGROUND

        A.      The Project

        8.      The Ashbridge Apartments, also known as Multi-Family Residential Development

– Main Street at Exton TMP # 41-5-131.1, 41-5-138.6, 41-5-138.7, 415-5-138.8, 41-5-138.9 &

138.13, is a multifamily residential and commercial property developed by the Owner and located

at the Main Street at Exton shopping center in Exton, Pennsylvania (“the Project”).

        9.      On or about September 17, 2018, the Owner executed a written contract with

Jeffrey M. Brown Associates, LLC (“JMB”) to construct the Project (“the Base Contract”).

        B.      The Performance Bond

        10.     At the request of JMB in connection with its work under the Base Contract, the

Surety issued Performance Bond No. 9281093 with the penal sum of $31,860,715.00, naming the

Owner as obligees (“the Bond”). Attached hereto as Exhibit A is a true and correct copy of the

Bond.

        11.     The Bond contains certain obligations of the Owner prior to the Surety’s obligation

to perform, including that the Owner must “pay the Balance of the Contract Price in accordance

with the terms of the Construction Contract to the Surety or to a contractor selected to perform the

Construction Contract.” (Exhibit A, § 3.3.)

        12.     As stated in the Bond, if (i) the Contractor [JMB] were to be in default under the

Base Contract, (ii) the Owner declares JMB in default and notifies the Surety of such default, and

(iii) the Owner commits the Balance of the Contract Price to the Surety, then, provided there is no

ongoing Owner Default under the Base Contract, the Surety may elect to remedy the Contractor

Default by selecting among several performance options, including but not limited to, by arranging




                                                 3
             Case 2:21-cv-03576-WB Document 1 Filed 08/11/21 Page 4 of 20




“for the Contractor, with the consent of the Owner, to perform and complete the Construction

Contract.” (Exhibit A, §§ 3, 5.)

        13.     The Bond further provides in this regard that, if the conditions stated in Paragraph

14 above occur and the Surety elects to arrange for the Contractor to perform and complete the

Base Contract, the Surety’s obligations remain “[s]ubject to the commitment by the Owner to pay

the Balance of the Contract Price.” (Exhibit A, § 7.)

        C.      The Settlement and Dedication of Contract Balance Agreement

        14.     On or about June 25, 2020, the Owner sent a Notice of Default to JMB, declaring

JMB in default of the Base Contract.

        15.     On or about June 25, 2020, the Owner sent a Notice of Contractor Default and

Request for Conference to the Surety, which declared JMB in default under the Base Contract and

requested a conference with the Surety and JMB under § 3.1 of the Bond.

        16.     On or about July 16, 2020, the Surety, the Owner, and JMB participated in a

conference under § 3.1 of the Bond.

        17.     In July 2020, the Surety began funding JMB's performance under § 5.1 of the Bond,

subject to a full reservation of rights.

        18.     On or about August 18, 2020, the Surety forwarded the Owner an irrevocable letter

of direction executed by JMB that directed all outstanding and future payments due under the Base

Contract to be paid to the Surety.

        19.     On or about November 3, 2020, the Surety, the Owner, and JMB entered into an

agreement entitled Liquidated Damages Settlement Agreement and Dedication of Contract

Balance (the “Settlement and Dedication of Contract Balance Agreement”). Attached hereto as




                                                 4
           Case 2:21-cv-03576-WB Document 1 Filed 08/11/21 Page 5 of 20




Exhibit B is a true and correct copy of the Settlement and Dedication of Contract Balance

Agreement.

        20.     Section II.9 of the Settlement and Dedication of Contract Balance Agreement

provides that the Surety would advance funds to JMB, up to the penal sum of the Bond, to assist

JMB in completing the Base Contract. (Exhibit B, § II.9.)

        21.     The Surety has fully satisfied its obligation to finance the Project, providing over

$23 million in additional Project financing for JMB to complete the Base Contract for the Owner.

        22.     As a result of the Surety’s financing of the construction, the residential units at the

Project have been available for the Owner to lease and units have been occupied by tenants since

September 2020.

        23.     The Settlement and Dedication of Contract Balance Agreement also called for the

Surety to pay $6,000,000.00 to the Owner in settlement of its then pending claim for liquidated

damages for Project delay (“the Liquidated Damages Settlement”).

        24.     The parties agreed in the Settlement and Dedication of Contract Balance Agreement

that the Owner would receive the Liquidated Damages Settlement in two ways: (i) by the Owner

retaining twenty-nine percent (29%) of each pending unpaid and future progress payment, with

the balance to be paid to the Surety while the construction work was completed, for a total Owner

withholding equal to $3,596,754.00; and (ii) the Surety would pay $2,403,246.00 to the Owner at

the time of Final Completion of the Project, the Owner having by then paid the remaining Base

Contract funds (any unpaid balance and retainage) to the Surety, or deposited the remaining Base

Contract funds (any unpaid balance and retainage) to an agreed escrow account (“the Escrow

Account”) for distribution following Final Completion and resolution of any existing disputes.

(Exhibit B, §§ II.6, II.7.)



                                                  5
          Case 2:21-cv-03576-WB Document 1 Filed 08/11/21 Page 6 of 20




       25.       Specifically, in Section II.5 of the Settlement and Dedication of Contract Balance

Agreement, the parties confirmed and stipulated that the remaining Base Contract funds, including

retainage, totaled $14,999,042.00 (“the Unpaid Balance of Contract”). (Exhibit B, § II.5).

       26.     The parties further confirmed and stipulated that the Unpaid Balance of Contract

consisted of (i) future billings and amounts previously withheld by the Owner, totaling

$12,595,796.00; and (ii) retainage amounting to $2,403,246.00 (“the Retainage”).

       27.     With respect to the $12,595,796.00 portion of the Unpaid Balance of Contract that

was not Retainage, the Surety was to be paid those funds by the Owner through monthly progress

payments from which the Owner was to withhold twenty-nine percent (29%) of each progress

payment for a total of $3,596,754.00 as part of the Liquidated Damages Settlement, leaving a total

of $8,999,042.00 to be paid to the Surety.

       28.     In Section II.7 of the Settlement and Dedication of Contract Balance Agreement,

the Owner confirmed that, at the time of Final Completion, it will have paid all of the Unpaid

Balance of Contract (except the amount due to the Owner for the Liquidated Damages Settlement)

either to the Surety or into the Escrow Account, such that it would no longer be holding any funds

dedicated to the Surety. At the time of Final Completion, no funds dedicated to the Surety could

be in the Owner’s possession, but instead, the Owner was obligated to have released the funds, by

either: (i) paying the money to the Surety; or (ii) depositing the funds in the established Escrow

Account for future distribution upon resolution of disputed liquidated damages or disputed

withholdings as set forth elsewhere in the Settlement and Dedication of Contract Balance

Agreement.

       29.     Section II.7 of the Settlement and Dedication of Contract Balance Agreement

specifically provides, in part:



                                                 6
            Case 2:21-cv-03576-WB Document 1 Filed 08/11/21 Page 7 of 20




          When Final Completion is achieved, the Owner will either release the Retainage
          and any unpaid Contract Balance to the Surety, or a portion thereof that the Owner
          determines is due and owing, and deposit the remaining Retainage amount and
          unpaid Contract Balance, if any, into an escrow account maintained by a third party
          escrow agent selected by the parties (“Escrow Account”), such that the full
          amount of Retainage and unpaid Contract Balance has either been paid to the
          Surety and/or into the Escrow Account.

(Exhibit B, § II.7 (emphasis added).)

          30.    With respect to the Owner’s obligation to pay the Unpaid Balance of Contract to

the Surety, the Settlement and Dedication of Contract Balance Agreement states: “Owner dedicates

the unpaid Contract Balance to the Surety, except as detailed in Section 7 above.” (Exhibit B, §

II.10.)

          31.    Section II.8 of the Settlement and Dedication of Contract Balance Agreement

provides for the establishment of the Escrow Account to secure any portions of the Unpaid Balance

of Contract dedicated but not paid to the Surety until any disputes between the Surety and the

Owner are resolved, stating as follows:

          The Parties have agreed that the firm of Land Services USA will serve as the escrow
          agent to retain escrowed funds, in an interest-bearing account, subject only to
          release by agreement of Owner and Surety or by court order enforcing an arbitration
          award as provided in Sections 14 and 15 below.

(Exhibit B, § II.8.)

          32.    If, at Final Completion, all of the remaining Unpaid Balance of Contract due the

Surety was not paid directly to the Surety as provided in Section II.7, then the funds – required to

be in the Escrow Account – would be allocated according to the security and dispute provisions of

Sections II.14 and II.15 of the Settlement and Dedication of Contract Balance Agreement. (Exhibit

B, §§ II.14, II.15.)

          33.    Section II.14 of the Settlement and Dedication of Contract Balance Agreement

provides that there would be a meet and confer meeting within thirty (30) days of Final Completion,

                                                  7
          Case 2:21-cv-03576-WB Document 1 Filed 08/11/21 Page 8 of 20




after which undisputed funds in the Escrow Account, would be paid, in whole or in part, to the

appropriate party or parties within thirty (30) days thereafter:

       Within thirty (30) days of Final Completion, the parties will meet and confer
       regarding the release of funds deposited into the Escrow Account. If there is no
       dispute or there is a dispute only as to a portion of the funds ,then those funds which
       are not in dispute shall be disbursed to the appropriate party or parties within thirty
       (30) days per the Contract and this Agreement. If there is a dispute among the
       parties as to some or all of the funds deposited in the Escrow Account, the parties
       will follow the procedure contained in Section 15 below regarding the disputed
       funds.

(Exhibit B, § II.14.)

       34.     Section II.15 of the Settlement and Dedication of Contract Balance Agreement,

entitled Dispute Procedure, contains the parties’ agreed upon procedure and forum for resolving

disputes about the proper distribution of the funds that the Owner has paid into the Escrow Account.

Of particular significance in this matter, the Dispute Procedure allows for challenging both Owner

liquidated damages assessments and the basis for withholding other funds that are paid into the

Escrow Account. The Dispute Procedure states in full:

       If any dispute arises among the Owner, the Surety, and/or JMB with regard to
       liquidated damages that are assessed and paid into the Escrow Account under this
       Agreement and/or the basis for withholding funds that are paid into the Escrow
       Account under this Agreement, then the following dispute resolution procedures
       will apply:

               (a) if the amount in controversy is under $500,000.00, the dispute will be
               submitted to binding arbitration before a single arbitrator selected by mutual
               agreement of the Parties and conducted in accordance with the Construction
               Industry Rules of the American Arbitration Association (“AAA”);

               (b) if the amount in controversy is over $500,000.00, the dispute will be
               submitted to binding arbitration before a panel of three arbitrators selected
               by agreement of the Parties and conducted in accordance with the
               Construction Industry Rules of the American Arbitration Association
               (“AAA”);

               (c) venue shall be in Philadelphia, Pennsylvania or such other location as
               mutually agreed to by the parties;

                                                  8
            Case 2:21-cv-03576-WB Document 1 Filed 08/11/21 Page 9 of 20




               (d) all AAA costs and fees for arbitration shall be split 50-50 between the
               parties. Each party shall bear its own legal fees;

               (e) The award rendered by a proper awarding authority pursuant to this
               Section 15 shall be final, and judgment may be entered upon it in
               accordance with applicable law in any court having jurisdiction.

(Exhibit B, § II.15.)

       D.      The Owner Has Disputed Its Obligation to Fund the Escrow Account Pending
               Resolution of Disputes

       35.     As stated above, the Surety has provided over $23 million in financing to complete

the Owner’s Project. Indicative of the Project’s completion, the last payment application reviewed

and approved by the Project’s architect of record but not paid, dated April 30, 2021, confirmed

that the work was 99.53% complete.

       36.     As of the date of this filing, the Project has achieved Final Completion but for

disputed items, as well as limited corrective work identified late in the punch list process and

requiring coordination with the Owner that JMB has committed to perform.

       37.     After the Settlement and Dedication of Contract Balance Agreement was signed in

November 2020, the Owner paid previously held amounts and only one current payment

application for work performed in November 2020. Since December 2020, the Surety was made

to singularly finance the work as the Owner has not paid any payment applications for monthly

progress payments submitted between December 2020 and the present date of this filing in August

2021 – a period of over seven months.

       38.     Specifically, since December 2020, JMB has submitted applications for payment

in the total amount of $7,167,708.63, all of which the Owner has not paid. Accounting for the

Owner’s twenty-nine percent (29%) withholdings for the Liquidated Damages Settlement, a




                                                9
         Case 2:21-cv-03576-WB Document 1 Filed 08/11/21 Page 10 of 20




remaining balance (including Retainage) of $7,126,760.00 is owed to the Surety (“the Balance

Due the Surety”).

       39.     Instead, the Owner has assessed liquidated damages based on an erroneous and self-

serving Substantial Completion standard and has manufactured disputed deficiencies to which it

has attached grossly inflated claims in an attempt to justify withholding all payment since

December 2020.

       40.     The Surety disputes the Owner’s assessment of liquidated damages and maintains

that JMB achieved Substantial Completion in accordance with the milestones established in the

Liquidated Damages Settlement and Dedication of Contract Balance Agreement. The Surety also

maintains that JMB is entitled to time extensions based on delays resulting from the COVID-19

pandemic and concurrent delays for which the Owner is responsible due to change order work

directed by the Owner.

       41.     The Surety also disputes the Owner’s ill-conceived and inflated withholdings for

alleged defects.

       42.     The Owner must now deposit amounts subject to dispute into the Escrow Account,

as the Owner agreed to do in the Settlement and Dedication of Contract Balance Agreement.

       43.     As disputes exist regarding the Balance Due the Surety, the Owner has been

obligated under Section II.7 to pay the Balance Due the Surety (if not to the Surety) into the Escrow

Account pending resolution of those disputes in accordance with the dispute provisions of Sections

II.14 and II.15 of the Settlement and Dedication of Contract Balance Agreement.

       44.     Despite the clear and explicit provisions of the Settlement and Dedication of

Contract Balance Agreement requiring the Owner to either pay all of the Balance Due the Surety

to the Surety or the Escrow Account, the Owner has not fulfilled either obligation.



                                                 10
           Case 2:21-cv-03576-WB Document 1 Filed 08/11/21 Page 11 of 20




          45.   The Owner has not paid the Balance Due the Surety of at least $7,126,760.00 to the

Surety.

          46.   The Owner has not deposited the Balance Due the Surety of at least $7,126,760.00

into the Escrow Account.

          47.   The Owner maintains full possession and control of the Balance Due the Surety.

          48.   Rather than satisfy its obligations under Section II.7 of the Settlement and

Dedication of Contract Balance Agreement, the Owner has manufactured an interpretation of the

agreement that allows it to control the disposition of the Balance Due the Surety while disputes

exist regarding the status of Final Completion or the proper distribution of those funds.

          49.   The Owner is relying on its contrived interpretation of the Settlement and

Dedication of Contract Balance Agreement to assert control over the Project funding until it

unilaterally deems the work Finally Complete regardless of good faith disputes. This is contrary

to the disputes process, which provides for the resolution of disputes “with regard to liquidated

damages that are assessed and paid into the Escrow Account under this Agreement and/or the basis

for withholding funds that are paid into the Escrow Account under this Agreement.” (Exhibit B, §

II.15)

          50.   The Owner’s interpretation of the Settlement and Dedication of Contract Balance

Agreement is as also in conflict with Section II.7, Section II.8 and the Dispute Procedures of

Sections II.14 and II.15, which all require the Owner to have deposited disputed portions of the

Unpaid Balance of Contract in the Escrow Account prior to engaging in arbitration – the agreed

upon resolution mechanism for challenging “the basis for withholding funds that are paid into

escrow” and the forum for determining the proper distribution of those funds.




                                                11
         Case 2:21-cv-03576-WB Document 1 Filed 08/11/21 Page 12 of 20




       51.     By its improper interpretation of the Settlement and Dedication of Contract Balance

Agreement, the Owner is preventing an eventual arbitrator or panel of arbitrators from affording

the relief that Sections II.8, II.14 and II.15 of the Settlement and Dedication of Contract Balance

Agreement envision – namely, the proper distribution of amounts held in escrow.

       52.     The obligation to transfer disputed portions of the Unpaid Balance of Contract to

the Escrow Account is a material term of the Settlement and Dedication of Contract Balance

Agreement because it secured the Unpaid Balance of Contract with a third party during any dispute

among the parties, thus ensuring that substantial funds dedicated to the Surety would be available

to pay the Surety should it prevail in any dispute and thereby offset the improper additional

financing burden thrust on the Surety.

       53.     By its improper interpretation of the Settlement and Dedication of Contract Balance

Agreement, the Owner also is irreparably harming the Surety by not depositing the Balance Due

the Surety in the Escrow Account as the Owner is, upon information and belief, a special purpose

entity existing solely for the development of the Project and it maintains no other liquid assets to

pay the Surety the Balance Due the Surety – funds which it expressly dedicated to the Surety – in

the event that the dispute resolution process determines that the Surety is entitled to the Balance

Due the Surety, in whole, or in part.

       54.     If the Owner does not pay the Balance Due the Surety into the Escrow Account

during the pendency of the parties’ dispute regarding the Project, the Surety will remain at

substantial risk that the Owner will not have any liquid assets by which to compensate the Surety

for its performance of the Settlement and Dedication of Contract Balance Agreement and the Bond,

a circumstance which is exactly what the Escrow Account was established to avoid.




                                                12
          Case 2:21-cv-03576-WB Document 1 Filed 08/11/21 Page 13 of 20




        55.       The Surety has satisfied all conditions precedent necessary to filing each of the

causes of action raised in this Complaint.

                                        COUNT ONE
                                  DECLARATORY JUDGMENT

        56.       The Surety incorporates by reference Paragraphs 1 through 55 as though set forth

herein in full.

        57.       This is an action for declaratory judgment pursuant to 28 U.S.C. § 2201 for the

purpose of determining a question of actual controversy between the Surety and the Owner.

        58.       The Surety contends that, under the Settlement and Dedication of Contract Balance

Agreement, the Owner is contractually obligated to release the Balance Due the Surety from its

possession and/or control in one or both of only two ways: (i) pay the entirety of the Balance Due

the Surety to the Surety; or (ii) if the Owner contends that the entirety of the Balance Due the

Surety is not due and owing under the construction contract, then it must pay any undisputed

portion of the Balance Due the Surety to the Surety and deposit the remainder into the established

Escrow Account.

        59.       Once the disputed portion of the Balance Due the Surety is in the Escrow Account,

the parties are to perform their meet and confer obligations under Section II.14, and if a dispute

remains concerning the funds in the Escrow Account, then the parties are to arbitrate that dispute

in accordance with Section II.15 of the Settlement and Dedication of Contract Balance Agreement

        60.       Despite the clear language of the Settlement and Dedication of Contract Balance

Agreement stated above, the Owner contends that it is permitted to indefinitely control the Balance

Due the Surety rather than placing the Balance Due the Surety in the Escrow Account subject to

the disputes procedures of the Settlement and Dedication of Contract Balance Agreement.




                                                   13
          Case 2:21-cv-03576-WB Document 1 Filed 08/11/21 Page 14 of 20




       61.     While the Surety denies the existence of any appropriately assessed liquidated

damages or amount properly withheld for alleged construction defects or alleged losses to the

Owner arising from any construction defects, the sole controversy in this action is between the

Owner and the Surety regarding the appropriate handling of disputed monies and not the ultimate

determination of whether the Owner’s assessment of liquidated damages or claims of construction

defects are valid or invalid.

       62.     The controversy is limited to the issue of contractual interpretation and whether the

Owner has a contractual obligation under the Settlement and Dedication of Contract Balance

Agreement and the Bond to place the Balance Due the Surety into the Escrow Account while the

parties arbitrate the merit (or lack thereof) of the Owner’s claims.

       63.     An actual controversy therefore has arisen and now exists between the Surety and

the Owner regarding the interpretation and performance of the Settlement and Dedication of

Contract Balance Agreement and the Bond.

       64.     The Court’s resolution of this controversy between the Owner and the Surety will

guide their future conduct by: (i) determining whether and when the Owner must deposit the

Balance Due the Surety into the Escrow Account under the Settlement and Dedication of Contract

Balance Agreement; (ii) allowing the arbitration between the Surety and the Owner under Section

II.15 of the Settlement and Dedication of Contract Balance Agreement to proceed; and (iii)

permitting the arbitrator(s) to award the relief (distribution of the Escrow Account) that Section

II.15 requires of the arbitration process.

       WHEREFORE, Plaintiff Fidelity and Deposit Company of Maryland respectfully

requests that this Honorable Court enter judgment declaring that, under the terms of the Settlement




                                                 14
          Case 2:21-cv-03576-WB Document 1 Filed 08/11/21 Page 15 of 20




and Dedication of Contract Balance Agreement, Defendants Main Street Phase II, L.P. and Main

Street Phase III, L.P.:

        (1) are contractually prohibited from controlling and/or holding the Balance Due the Surety;

        (2) must deposit the entirety of the Balance Due the Surety into the Escrow Account

pending the dispute resolution required by Sections II.14 and II.15 of the Settlement and

Dedication of Contract Balance Agreement; and

        (3) award such other and further relief as the Court deems just and proper.

                                           COUNT TWO
                                           INJUNCTION

        65.       The Surety incorporates by reference Paragraphs 1 through 64 as though set forth

herein in full.

        66.       The Surety seeks injunctive relief that requires the Owner to deposit the Balance

Due the Surety into the Escrow Account to remedy the irreparable harm that the Surety is currently

experiencing every day in which the Balance Due the Surety remains in the possession of the

Owner and not in the Escrow Account as the Settlement and Dedication of Contract Balance

Agreement requires.

        67.       By the express provisions of the Settlement and Dedication of Contract Balance

Agreement, the Owner has been obligated to deposit the Balance Due the Surety into the Escrow

Account subject to the dispute resolution provisions of Sections II.14 and II.15.

        68.       The entire purpose of the Settlement and Dedication of Contract Balance

Agreement was to ensure that the Unpaid Balance of Contract was available to assist in financing

the remaining work and make certain that any disputed funds were preserved through an escrow

account. The Escrow Account removed the risk of an insolvent Owner and ensured that liquid

funds would be held by a neutral third party during the pendency of any dispute regarding the

                                                 15
            Case 2:21-cv-03576-WB Document 1 Filed 08/11/21 Page 16 of 20




distribution of the Unpaid Balance of Contract so that, once that dispute is resolved, funds exist

and are available to be paid to the Surety if the Surety prevails.

       69.      By using disputes that it has created as the basis for refusing to contribute the

Balance Due the Surety, the Owner is nullifying the necessary protection expressly bargained for

by the Surety in the Settlement and Dedication of Contract Balance Agreement, thereby changing

the status quo for its own betterment and shifting to the Surety the significant risk of Owner

insolvency during the pendency of the dispute.

       70.      Unless injunctive relief is granted and the Owner is ordered to deposit the Balance

Due the Surety into the Escrow Account, the Surety will suffer irreparable harm in that it will be

deprived of the specific security protections it bargained for in the Settlement and Dedication of

Contract Balance Agreement against the risk of non-payment, which cannot be remedied by any

post hoc judgment.

       71.       Unless injunctive relief is granted and the Owner is ordered to deposit the Balance

Due the Surety into the Escrow Account, the Surety also will suffer irreparable harm in that the

binding arbitration process in Section II.15 will not conclude with the relief that Section II.15

requires.

       72.      The Owner contractually acknowledged in the Settlement and Dedication of

Contract Balance Agreement that any failure on its part to fund the Escrow Account would result

in irreparable harm to the Surety, agreeing in Section III.7 that “[t]he parties hereto agree that

irreparable damage would occur in the event any provision of this Agreement was not performed

in accordance with the terms hereof…” (emphasis added). (Exhibit B, § III.7.)




                                                 16
          Case 2:21-cv-03576-WB Document 1 Filed 08/11/21 Page 17 of 20




        73.     No remedy at law exists for the Owner failing to deposit the disputed Balance Due

the Surety into the Escrow Account during the pendency of the dispute regarding the distribution

of the Balance Due the Surety.

        74.     The Owner will not be harmed or prejudiced by the injunctive relief sought in this

action because the Balance Due the Surety will simply be preserved by a third party and not in the

possession of the Surety or any other interested party; to the contrary, Section II.8 only allows the

release of funds from the Escrow Account “by agreement of Owner and Surety or by court order

enforcing an arbitration award as provided in Sections 14 and 15 below.” (Exhibit B, § II.8.)

        75.     There is no possibility of harm to any third parties because, as Section II.8 of the

Settlement and Dedication of Contract Balance Agreement provides, the Owner and/or Surety are

only entitled to distribution of the funds in the Escrow Account at the conclusion of the agreed-

upon arbitration process.

        76.     The public interest is advanced by the injunctive relief requested because the public

always has an interest in the judicial enforcement of contracts freely executed by sophisticated

persons and entities.

        WHEREFORE, Plaintiff Fidelity and Deposit Company of Maryland respectfully

requests that this Honorable Court enter judgment granting the following permanent injunctive

relief against the Defendants Main Street Phase II, L.P. and Main Street Phase III, L.P:

        (1) Requiring Defendants Main Street Phase II, L.P. and Main Street Phase III, L.P. to

immediately deposit the Balance Due the Surety into the Escrow Account established by Section

II.8 of the Settlement and Dedication of Contract Balance Agreement, if the Balance Due the

Surety is not paid in its entirety to the Surety directly; and

        (2) such other and further relief as the Court deems just and proper.



                                                  17
          Case 2:21-cv-03576-WB Document 1 Filed 08/11/21 Page 18 of 20




                                       COUNT THREE
                                   SPECIFIC PERFORMANCE

        77.       The Surety incorporates by reference Paragraphs 1 through 76 as though set forth

herein in full.

        78.       As alleged in the preceding paragraphs of this Complaint, the Owner has failed to

comply with its obligations under the Settlement and Dedication of Contract Balance Agreement

by refusing to pay the Balance Due the Surety into the Escrow Account during the pendency of

ongoing disputes regarding the distribution of those contract funds.

        79.       As a result of the Owner’s refusal to pay the Balance Due the Surety to the Surety

or into the Escrow Account, the Surety cannot obtain the complete relief envisioned by the dispute

resolution procedure in the Settlement and Dedication of Contract Balance Agreement because

there are no funds in the Escrow Account to be awarded by an arbitration panel.

        80.       As alleged in the preceding paragraphs of this Complaint, the Surety is suffering

irreparable harm for which there is no adequate remedy at law as a result of the Owner’s failure to

pay the Balance Due the Surety to the Surety or into the Escrow Account.

        81.       With respect to the obligation to pay the Balance Due the Surety to the Surety or

into the Escrow Account, the Owner expressly acknowledged and agreed that irreparable damage

would occur in the event that it did not perform its obligations in accordance with the terms of the

Settlement and Dedication of Contract Balance Agreement and that the Surety would be entitled

to specific performance of said terms. (Exhibit B, § III.7.)

        82.       The Surety is entitled to judgment compelling the Owner to specifically perform

according to the terms of the Settlement and Dedication of Contract Balance Agreement by paying

the Balance Due the Surety into the Escrow Account if it is not paid in its entirety to the Surety.




                                                  18
          Case 2:21-cv-03576-WB Document 1 Filed 08/11/21 Page 19 of 20




        WHEREFORE, Plaintiff Fidelity and Deposit Company of Maryland respectfully

requests that this Honorable Court enter judgment:

        (1) compelling the Defendants Main Street Phase II, L.P. and Main Street Phase III, L.P.

immediately deposit the Balance Due the Surety into the Escrow Account established by Section

II.8 of the Settlement and Dedication of Contract Balance Agreement, if the Balance Due the

Surety is not paid in its entirety to the Surety directly; and

        (2) such other and further relief as the Court deems just and proper.




                                                  19
        Case 2:21-cv-03576-WB Document 1 Filed 08/11/21 Page 20 of 20




Dated: August 11, 2021
                                   Respectfully Submitted,

                                          /s Noah H. Charlson
                                   BY:

                                    Noah H. Charlson, Esq. (PA ID No. 89210)
                                    Charlson Braber McCabe & Denmark, P.C.
                                    1628 JFK Blvd., Suite 1803
                                    Philadelphia, PA 19103
                                    Tel: 215-447-7401
                                    noah@charlsonlaw.com

                                    Attorneys for Plaintiff,
                                   Fidelity and Deposit Company of Maryland

Of Counsel:

Christopher Brasco, Esq.
Noah R. Meissner, Esq.
WATT, TIEDER, HOFFAR & FITZGERALD, LLP
1765 Greensboro Station Pl., Suite 1000
Mclean, VA 22102




                                     20
